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, ON.

Plaimiff,

V. NO. 03-1233-B/P

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for all discovery and
non-dispositive motions presently pending and/or filed during the course of this litigation

qL
IT IS SO ORDERED this C/> day of May, 2005.

 

J. DANIEL BREEN `
NI D sTATEs DISTRICT JUDGE

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F TENNESSEE

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Honorable J. Breen
US DISTRICT COURT

